






COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS









IN THE INTEREST OF J.M.M., A
MINOR CHILD
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No. 08-08-00150-CV



Appeal from the


112th Judicial District Court


of Pecos County, Texas 


(TC# P-10,635-112-CV) 



MEMORANDUM  OPINION


	This appeal is before the Court on its own motion for determination whether this appeal
should be dismissed for want of prosecution.  Finding that Appellant has not filed a brief or a
motion for extension of time, we dismiss the appeal. 

	Appellant's brief was due to be filed on May 21, 2008, but Appellant has not filed the
brief or a motion for extension of time.  On June 20, 2008, the clerk of this Court notified the
parties of the Court's intent to dismiss for want of prosecution if, within ten days of the notice,
no party responded showing grounds to continue the appeal.  We have not received a response. 

	This Court possesses the authority to dismiss an appeal for want of prosecution when
Appellant has failed to his brief in the time proscribed, and gives no reasonable explanation for
such failure.  Tex.R.App.P. 38.8(a)(1); Elizondo v. City of San Antonio, 975 S.W.2d 61, 63
(Tex.App.--San Antonio 1998, no writ).  We have given notice of our intent to do so, requested a
response if a reasonable basis for failure to file the brief or statement of facts exists, and have
recieved none.  We see no purpose that would be served by declining to dismiss this appeal at
this stage in the proceedings.  Therefore, we dismiss the appeal for want of prosecution pursuant
to Tex.R.App.P. 38.8(a)(1) and 42.3(c).



September 18, 2008

						DAVID WELLINGTON CHEW, Chief Justice


Before Chew, C.J., McClure, and Carr, JJ.


